               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:16-cv-00126-MR
            [CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-1]


JACKIE LEE RATTLER,              )
                                 )
              Petitioner,        )
                                 )              MEMORANDUM OF
     vs.                         )              DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

       This matter is before the Court on Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence under 28 U.S.C. § 2255 [Doc. 1].

I.     BACKGROUND

       After an investigation, law enforcement officers executed a search

warrant at the residence of Petitioner Jackie Lee Rattler after a confidential

source made three purchases of controlled substances from Petitioner.

[Crim. Case No. 2:13-cr-00012-MR-DLH-1 (“CR”), Doc. 167 at ¶¶ 5-9: PSR].

Officers found marijuana, Xanax, cocaine, and 42 firearms during the search.

[Id. at ¶ 10]. Petitioner admitted to his conduct when interviewed. [Id. at ¶

11]. He was charged in a Bill of Indictment along with multiple co-defendants

with one count of conspiracy to possess with intent to distribute marijuana,



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oxycodone, cocaine, and alprazolam, in violation of 21 U.S.C. § 846 (Count

One); three counts of possession with intent to distribute oxycodone, in

violation of 18 U.S.C. § 841(a)(1) (Counts Two, Three, and Six); two counts

of possession with intent to distribute marijuana, in violation of 21 U.S.C. §

841(a)(1) (Counts Four and Five); one count of possession with intent to

distribute cocaine, in violation of 21 U.S.C. § 841(a)(1) (Count Seven); and

one count of possession of a firearm by an unlawful user addicted to a

controlled substance, in violation of 18 U.S.C. § 922(g)(3) (Count Nine). [CR

Doc. 3: Indictment].

      Petitioner pleaded guilty to Counts Two through Seven and Count

Nine. [CR Doc. 99 at ¶ 1: Plea Agmt.]. As part of the plea agreement, the

Government agreed to dismiss Count One, and Petitioner agreed to waive

the right to challenge his conviction or sentence on appeal or in any post-

conviction proceeding, with the exception of claims of ineffective assistance

of counsel or prosecutorial misconduct. [Id. at ¶¶ 17-18]. During the plea

hearing, Petitioner affirmed that he understood the offenses to which he was

pleading guilty and the maximum penalties he faced. [CR Doc. 225 at 5-24:

Plea Tr.]. He also affirmed that he was guilty of each of the offenses, that

the Court was not bound by the Guidelines and could impose any sentence

within the statutory limits, and that he understood that if his sentence was


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more severe than he expected, he would still be bound by his plea. [Id. at

25-26, 28].   Petitioner testified that his plea was voluntary and that no

promises were made to him outside the terms of the plea agreement. [Id. at

28-29]. The magistrate judge specifically questioned Petitioner regarding the

waiver of his appellate and post-conviction rights, and Petitioner testified that

he willingly accepted those waivers. [Id. at 32]. Additionally, Petitioner

testified that he was fully satisfied with the services of his attorney. [Id. at

32-33]. The magistrate judge accepted Petitioner’s plea as knowingly and

voluntarily made. [Id. at 34].

      On July 7, 2014, the probation officer submitted a draft presentence

report, which concluded that Petitioner was responsible for 15.2 grams of

oxycodone, 3.05 kilograms of marijuana, and 114.6 grams of cocaine. [CR

Doc. 161 at ¶ 23: Draft PSR]. Based on this drug quantity, the probation

officer calculated a total offense level of 25, which, when combined with

Petitioner’s criminal history category of I, resulted in an advisory guidelines

range of 57-71 months of imprisonment. [Id. at ¶¶ 39, 48, 78].

      The Government objected, arguing that based on Petitioner’s

admissions, as well as the statements of co-defendants Taryn Rattler, Mark

Winstead, and Evan Norris, Petitioner was responsible for at least 499.4

grams of oxycodone, 2.7 kilograms of marijuana, and 56.2 grams of cocaine


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(a higher amount of oxycodone, but a lower amount of the other drugs). [Id.,

Doc. 162 at 6: Objection to PSR]. On August 18, 2014, the probation officer

submitted a final PSR, agreeing with the Government that Petitioner was

responsible for a greater quantity of drugs than was reflected in the draft

PSR.     [Id., Doc. 167: Final PSR].      Specifically, the probation officer

determined that Petitioner was responsible for 477.2 grams of oxycodone,

3.05 kilograms of marijuana, and 56.2 grams of cocaine. [Id. at ¶ 23]. Based

on this higher drug quantity, the probation officer calculated a total offense

level of 33, which, when combined with a criminal history category of I,

yielded an advisory guidelines range of 135-168 months of imprisonment.

[Id. at ¶¶ 39, 77].

       A month after the final PSR was submitted, Petitioner sent a letter to

this Court stating that he wished to terminate his retained counsel, Kris

Williams, due to ineffective assistance, and asking the Court to appoint

substitute counsel.    [CR Doc. 180: Motion to Appoint New Counsel].

Petitioner asserted that the PSR was “nothing like [Williams] said it would

be” and that Williams had informed him that Williams and the prosecutor had

met and agreed that Petitioner would be sentenced based on a total offense

level of 11, which would have resulted in an advisory guidelines range of 8

to 14 months in prison. [Id. at 1].


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      On September 24, 2014, this Court conducted a hearing on Petitioner’s

motion for new counsel.      [CR Doc. 220: Motions Hrg. Tr.]. During the

hearing, Petitioner asserted that Williams had spoken with him for “about 30

minutes in a year-and-a-half” and that Williams had told him “one thing, and

I get this PSR paper and it tells me something different.” [Id. at 5]. Petitioner

stated that when he decided to plead guilty he “was told [h]e was [offense]

level 18” and that he would “do 30 to 37 months.” [Id. at 8]. When Williams

was asked to respond to Petitioner’s allegations, Williams stated that he did

not “want to speak against [his] client’s interest” and suggested that the Court

continue the hearing for a week so that he and his client could consult. [Id.

at 9-10]. Petitioner agreed, [id. at 11], and when the hearing was reconvened

on October 10, 2014, Petitioner withdrew his motion to appoint new counsel.

[CR Doc. 218 at 5: Motions Hrg. Tr.].

      Two weeks later, Petitioner filed objections to the final PSR and a

motion for leave to file the objections out of time. [Id., Doc. 190: Objection;

Doc. 191: Motion for Extension of Time].         In the objections, Petitioner

challenged the PSR’s drug-quantity calculation, arguing that the oxycodone

pills included less oxycodone than the probation officer found, that the

amount of marijuana that was attributed to Petitioner was incorrect, and that




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the statements of Taryn Rattler,1 Winstead, and Norris were unreliable.

Specifically, Petitioner challenged the credibility of Taryn Rattler’s

assertions, noting particular inconsistencies between her statement and the

evidence found by investigators, and the lack of corroboration of Winstead’s

statements. [Id. at 2-3]. Petitioner argued that, at most, he was responsible

for six pounds of marijuana and 22.6 grams of oxycodone, which would result

in a total offense level of 15 and an advisory guidelines range of 18-24

months of imprisonment. [Id. at 4]. Although this Court denied Petitioner’s

motion to file the objections out-of-time, the Court noted that Petitioner would

not be prejudiced by this because the objections were made part of the

record and the Court had read them. [CR Doc. 192: Order Denying Motion;

Doc. 227 at 16: Sent. Hrg. Tr.].

       Before the sentencing hearing, the probation officer filed a supplement

to the PSR, noting that under the 2014 amendments to U.S.S.G. § 2D1.1,

Petitioner’s total offense level was reduced to level 31, resulting in an

advisory guidelines range of 108-135 months of imprisonment. [CR Doc.

194: PSR Supp.]. Also before the sentencing hearing, Petitioner and the

Government each filed a sentencing memorandum. [CR Doc. 202: Sent.



1 Because Taryn Rattler shares the same last name as Petitioner, the Court refers to her

by her first and last name in this Order to avoid confusion.
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Mem.; Doc. 203: Sent. Mem.]. The Government stated that in determining

the drug quantities it had relied only on the drugs seized or acquired through

undercover buys, as well as admissions from co-defendants, but not merely

statements from users who claimed to have purchased drugs for personal

use. [CR Doc. 202 at 2]. The Government noted that Petitioner’s plea

agreement did not recommend a drug quantity because the parties had not

been able to reach an agreement as to the amount and Petitioner’s counsel

wanted to preserve the right to argue for a lower amount at sentencing. [Id.

at 3]. The Government requested a 121-month sentence. [Id. at 5].

      In his own sentencing memorandum, Petitioner described his

background as a family man and community member who assisted others in

his Cherokee, North Carolina community. [CR Doc. 203 at 1-2]. He also

described his employment history and health challenges. Petitioner argued

in favor of a lower drug quantity than that set forth in the PSR, asserting that

this Court should not consider the statements of Taryn Rattler, Winstead, or

Norris because they were self-serving, unreliable, and uncorroborated. [Id.

at 3-4]. Petitioner also challenged one of the prior convictions set forth in the

PSR, arguing that this conviction related to another defendant with the same

name. [Id. at 5]. Petitioner asserted that his total offense level should be 17,




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which would result in an advisory guidelines range of 24-30 months in prison.

[Id.].

         At the sentencing hearing, Petitioner affirmed that he was guilty of the

offenses to which he had pleaded guilty and that his guilty plea was made

knowingly and voluntarily. [CR Doc. 227 at 5-8: Sent. Tr.]. When this Court

asked Petitioner whether he had reviewed the PSR with Williams, Petitioner

responded that he had reviewed the PSR and called Williams, but that he

had not had an opportunity to “re-discuss it” with Williams. [Id. at 9-10].

Petitioner stated that the PSR was incorrect and that he wanted to have a

number of questions answered before he was sentenced.                 [Id. at 11].

Counsel Williams responded that he had reviewed the PSR with Petitioner

and that they had had “several phone conversations about it.” [Id. at 12].

Williams stated that he believed Petitioner was aware of the arguments

Williams was asserting on his behalf, but requested an opportunity to confer

with his client. This Court suspended the hearing to permit this consultation.

When the sentencing hearing was reconvened two hours later, Petitioner

stated that he had had an opportunity to speak with Williams and “we’ve got

them a little straightened out.” [Id. at 13-15]. Petitioner also affirmed that he

understood the contents of the PSR. [Id. at 15].




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      Williams proceeded to argue at length in favor of Petitioner’s objections

to the drug quantity attributed to Petitioner in the PSR. [Id. at 16-40, 48-49].

In particular, he asserted that Petitioner should be held accountable only for

the drug quantities attributable to the three controlled buys and the controlled

substances seized during the search of his residence, but not the amounts

based on the “wild claims” and speculation of the co-defendants. [Id.]. He

also argued that Petitioner should receive a lower sentence based on his

family, background, health, and the nature of the offense. [Id. at 57-66].

      This Court sustained the objection to the prior conviction that had been

committed by another individual, but overruled Petitioner’s remaining

objections and adopted the PSR.            [Id. at 49-51, 55].        The Court

acknowledged that there were inconsistencies in the co-defendants’

statements but found that substantial portions of their statements were

consistent, particularly the degree to which each of the co-defendants

“point[ed] to [Petitioner] rather than others.”      [Id. at 50].      The Court

determined that the applicable guidelines range was 108-135 months of

imprisonment. [Id. at 56-57]. During his allocution, Petitioner stated that he

had pleaded guilty to the crimes that the Government could prove, but that if

he had known that he would be sentenced based on what other people said,

he could have gone to trial where those people could be cross-examined.


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[Id. at 69-74]. This Court sentenced Petitioner at the bottom of the guidelines

range to concurrent sentences of 108 months of imprisonment on each

count, with the exception of Count Five, for which Petitioner received a

concurrent sentence of 60 months. [Id. at 74]. The Court noted that this

sentence was appropriate because of the seriousness of the offense, which

involved the distribution of three types of controlled substances and fed upon

and contributed to the addiction of various victims; the need to provide

adequate deterrence; and the need to avoid unwarranted sentencing

disparities. [Id. at 74-75].

      Petitioner appealed, and the Fourth Circuit affirmed. United States v.

Rattler, 633 F. App’x 199 (4th Cir. 2016) (holding ineffective assistance of

counsel should be raised on collateral review). Petitioner timely filed this §

2255 motion in May 2016. [Doc. 1] In the motion to vacate, Petitioner

contends that he was improperly charged and sentenced on the drug

offenses because no drug quantity was charged or found by a jury; that his

sentence is improper under Johnson v. United States, 135 S. Ct. 2551

(2015); and that he received ineffective assistance of counsel.             The

Government filed its response in opposition to the motion to vacate on

August 8, 2016. [Doc. 4].




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II.      STANDARD OF REVIEW

         Rule 4(b) of the Rules Governing Section 2255 Proceedings provides

that courts are to promptly examine motions to vacate, along with “any

attached exhibits and the record of prior proceedings . . .” in order to

determine whether the petitioner is entitled to any relief on the claims set

forth therein. After examining the record in this matter, the Court finds that

the motion to vacate can be resolved without an evidentiary hearing based

on the record and governing case law. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         A.    Petitioner’s contention that he was not properly charged
               with drug offenses and that this Court erred in determining
               the drug amounts on which he was sentenced.

         Petitioner first argues that his indictment did not adequately charge an

offense because it did not include a specific quantity of drugs and, based on

the failure to charge a specific quantity of drugs, he should not have been

sentenced under 21 U.S.C. § 841(b)(1)(C). [Doc. 1-1 at 8-14]. He also

contends that it was error for this Court to find the drug quantity by a

preponderance of the evidence. [Id. at 12].

         A collateral review waiver is effective as long as the defendant made

the waiver knowingly and voluntarily. See United States v. Lemaster, 403


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F.3d 216, 220 (4th Cir. 2005). In evaluating claims under § 2255, statements

made by a defendant under oath at a plea hearing carry a “strong

presumption of verity” and present a “formidable barrier” to subsequent

collateral attacks. Blackledge v. Allison, 431 U.S. 63, 73-74 (1977). As the

Fourth Circuit has made clear, “courts must be able to rely on the defendant’s

statements made under oath during a properly conducted Rule 11 plea

colloquy,” and § 2255 claims that contradict a petitioner’s plea colloquy are

deemed “patently frivolous or false,” except in extraordinary circumstances.

Lemaster, 403 F.3d at 221-22.

      Petitioner’s challenge to his indictment and sentence is barred by the

waiver provision in his plea agreement. [See CR Doc. 99 at ¶¶ 17-18].

Petitioner does not contend that his guilty plea or agreement to the waiver

was unknowing or involuntary, and, even if he did, any such contention is

belied by the record. During the plea proceedings, Petitioner testified that

his plea was made knowingly and voluntarily and that he understood the

charges, potential penalties, and consequences of his plea. He specifically

testified that he was willingly accepting the waiver provisions in his plea

agreement. [CR Doc. 225 at 32]. He also reaffirmed these answers before

this Court at sentencing. [CR Doc. 227 at 5-8]. Because Petitioner has not




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alleged, much less shown, extraordinary circumstances to overcome his

sworn testimony, the waiver bars these claims.

      Additionally, even without the waiver provision, defects in an indictment

are not jurisdictional, see United States v. Cotton, 535 U.S. 625, 630-31

(2002), and a valid guilty plea waives all non-jurisdictional defects prior to

the plea. United States v. Moussaoui, 591 F.3d 263, 279 (4th Cir. 2010).

Moreover, there was no defect because the indictment properly charged

Petitioner with drug offenses under § 841(a)(1).        See United States v.

Benenhaley, 281 F.3d 423, 424-25 (4th Cir. 2002). Because Petitioner

waived these challenges to his indictment and sentence, such challenges

are dismissed.

      B.    Petitioner’s claim that he is entitled to sentencing relief
            under Johnson v. United States.

      Petitioner next contends that he is entitled to relief under the Supreme

Court’s decision in Johnson v. United States, 135 S. Ct. 2551 (2015).

      In Johnson, the Supreme Court held that the residual clause of the

definition of “violent felony” in the Armed Career Criminal Act (“ACCA”), 18

U.S.C. § 924(e)(1), which defined “violent felony” to include a prior conviction

for an offense that “otherwise involves conduct that presents a serious

potential risk of physical injury to another,” is void for vagueness. Johnson,

135 S. Ct. at 2556, 2558. The Court did not, however, strike the remainder
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of the “violent felony” definition, including the four enumerated offenses and

the “force clause” of § 924(e)(2)(B)(i). Id. at 2563. Nor did Johnson strike

any other provision in § 924.

      Here, Petitioner concedes in his memorandum in support of his motion

to vacate that he was not sentenced under the ACCA, nor was he sentenced

as a career offender. [Doc. 1-1 at 20]. Nonetheless, he argues that based

on the “collateral [e]ffects of Johnson,” he was convicted and sentenced

pursuant to unconstitutionally vague statutes, citing § 924 and § 922. [Id. at

15-21]. He also contends that his charges are “cross-referenced” under 18

U.S.C. § 16. [Doc. 1 at 5].

      Petitioner, however, was not convicted or sentenced for having

committed a “violent felony” or having a prior conviction for a “violent felony.”

Nor has he pointed to any language in the sections under which he was

convicted and sentenced that he contends is unconstitutionally vague under

Johnson. Accordingly, the holding of Johnson is simply inapplicable to

Petitioner, and he is, therefore, not entitled to sentencing relief under

Johnson.




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      C.     Petitioner’s claims of ineffective assistance of trial counsel.

      As his final claim, Petitioner contends that he received ineffective

assistance of trial counsel.2

      The Sixth Amendment to the U.S. Constitution guarantees that in all

criminal prosecutions, the accused has the right to the assistance of counsel

for his defense.       See U.S. CONST. amend. VI.                To show ineffective

assistance of counsel, Petitioner must first establish a deficient performance

by counsel and, second, that the deficient performance prejudiced him. See

Strickland v. Washington, 466 U.S. 668, 687-88 (1984). In making this

determination, there is “a strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.” Id. at 689; see

also United States v. Luck, 611 F.3d 183, 186 (4th Cir. 2010).

      Furthermore, in considering the prejudice prong of the analysis, the

Court “can only grant relief under . . . Strickland if the ‘result of the proceeding

was fundamentally unfair or unreliable.’” Sexton v. French, 163 F.3d 874,

882 (4th Cir. 1998) (quoting Lockhart v. Fretwell, 506 U.S. 364, 369 (1993)).

Under these circumstances, the petitioner “bears the burden of affirmatively


2 Petitioner also complains that his appellate counsel made a typographical error relating

to the jurisdictional statement in his appellate brief. [Doc. 1-1 at 3]. To the extent that
Petitioner is attempting to allege a claim of ineffective assistance of appellate counsel
based on a typographical error in his appellate brief, his claim is without merit. See
Strickland, 466 U.S. at 687-88.

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proving prejudice.” Bowie v. Branker, 512 F.3d 112, 120 (4th Cir. 2008). If

the petitioner fails to meet this burden, a “reviewing court need not even

consider the performance prong.” United States v. Rhynes, 196 F.3d 207,

232 (4th Cir. 1999), opinion vacated on other grounds, 218 F.3d 310 (4th Cir.

2000).

      Finally, to demonstrate prejudice in the context of a guilty plea, a

petitioner must show “a reasonable probability that, but for counsel’s errors,

he would not have pleaded guilty and would have insisted on going to trial.”

Hill v. Lockhart, 474 U.S. 52, 59 (1985).       In evaluating such a claim,

statements made by a defendant under oath at the plea hearing carry a

“strong presumption of verity” and present a “formidable barrier” to

subsequent collateral attacks. Blackledge v. Allison, 431 U.S. at 73-74.

Indeed, “in the absence of extraordinary circumstances, the truth of sworn

statements made during a Rule 11 colloquy is conclusively established, and

a district court should dismiss . . . any § 2255 motion that necessarily relies

on allegations that contradict the sworn statements.”        United States v.

Lemaster, 403 F.3d at 221-22.

      Petitioner argues that trial counsel Williams provided ineffective

assistance by (1) failing to review the plea agreement with him properly; (2)

failing to advise him adequately of the drug amounts that would be attributed


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to him or the resulting guideline calculations; (3) failing to obtain an

agreement as to the base offense level; (4) failing to review the PSR with

him adequately; (5) failing to make relevant and timely objections to the PSR;

and (6) failing to argue Petitioner’s legal position at sentencing. [Doc. 1-1 at

4, 7]. Petitioner also asserts that he never saw his PSR and that counsel

failed to consult with him or attempt to hold the Government to a low-end

sentence, given that neither the indictment, nor the plea agreement,

contained drug quantities. [Id. at 5-6]. Petitioner also argues that counsel

allowed consideration of a prior offense that was committed by another

individual with the same name. [Id. at 6]. He contends that this constituted

cumulative error and that counsel effectively “abandoned” him. [Id. at 3-4].

As to prejudice, Petitioner asserts that had his counsel not performed

deficiently, “the penalties may not have been imposed on [Petitioner] and/or

there may have been a very different outcome to the proceedings.” [Id. at

7].

      The Court first addresses Petitioner’s allegations of ineffective

assistance of counsel related to counsel’s conduct before Petitioner entered

his guilty plea. As the Court has discussed, supra, “[w]hen a defendant

pleads guilty, he waives all nonjurisdictional defects in the proceedings

conducted prior to entry of the plea.” Moussaoui, 591 F.3d at 279. Thus, a


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knowing and voluntary guilty plea “forecloses federal collateral review” of

prior constitutional deprivations, including allegations of ineffective

assistance of counsel that do not affect the voluntariness of the plea. See

Fields v. Att’y Gen. of Md., 956 F.2d 1290, 1294-96 (4th Cir. 1992). A guilty

plea is valid when it “represents a voluntary and intelligent choice among the

alternative courses of action open to the defendant.” Burket v. Angelone,

208 F.3d 172, 190 (4th Cir. 2000) (citing North Carolina v. Alford, 400 U.S.

25, 31 (1970)).

      Petitioner does not challenge the voluntariness of his guilty plea.

Accordingly, he has waived any assertions of errors by his attorney prior to

his plea. Thus, his assertion that counsel failed to adequately review the

plea agreement with him, advise him of the guidelines calculations, or obtain

an agreement as to the base offense level, is waived by his knowing and

voluntary plea. See Fields, 956 F.2d at 1294-96.

      The Court further finds that, even if Petitioner had not waived his

arguments as to the ineffective assistance of counsel prior to his plea,

Petitioner has not shown deficient performance or prejudice. Petitioner’s

contention that counsel did not adequately review the plea agreement with

him is belied by his sworn statements at the plea hearing, where he testified

that he understood and agreed with the terms of the plea agreement, as well


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as his attorney’s statement to the Court that he had reviewed each of the

terms of the plea agreement with Petitioner and was satisfied that Petitioner

understood them. [CR Doc. 225 at 31-32]. The decision not to seek a joint

recommendation regarding the amount of drugs involved in the offense was

strategic, as the parties could not agree on the amount, and counsel wanted

to retain the option to argue for a lower amount than that recommended by

the Government. See [Id., Doc. 202 at 3]. See Strickland, 466 U.S. at 690

(holding that “strategic choices made after thorough investigation of law and

facts relevant to plausible options are virtually unchallengeable”). Any error

with regard to the guidelines range was cured at the plea hearing where the

magistrate judge specifically advised Petitioner that the Court was not bound

by the guidelines, that it could sentence him within the statutory limits, and

that he could not set aside his plea if he received a higher sentence than he

anticipated.   [CR Doc. 225 at 25-26]. See also United States v. Lambey,

974 F.2d 1389, 1395-96 (4th Cir. 1992) (en banc) (a court must be able to

rely on its subsequent dialogue with a defendant during the plea hearing).

      Next, Petitioner’s assertion that he never saw his PSR is belied by his

letter to this Court, entered on the docket on September 16, 2014, in which

he requested new counsel, as well as his statements to this Court during the

sentencing hearing, where he stated that he had read the PSR, but had


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questions about it. [See CR Doc. 180; Doc. 227 at 9-11]. The sentencing

hearing was suspended so that he could discuss the report with his attorney,

and Petitioner then told the Court that he had reviewed it with counsel and

understood it. [CR Doc. 227 at 13-15]. Counsel filed objections to the PSR

and a sentencing memorandum, and made lengthy arguments at the

sentencing hearing, vigorously advocating for a lower sentence. Although

counsel’s submissions could have been timelier, they were considered by

the Court and Petitioner does not identify any additional arguments that

should have been made.

     As for, Petitioner’s contention that counsel effectively “abandoned”

him, this claim is based on conclusory allegations and therefore is also

subject to dismissal. See United States v. Dyess, 730 F.3d 354, 359-60 (4th

Cir. 2013) (holding it was proper to dismiss § 2255 claims based on vague

and conclusory allegations). Moreover, the record shows that Petitioner and

counsel consulted on a number of occasions in order to discuss possible

defenses, the plea agreement, Petitioner’s motion to obtain new counsel,

and the PSR. [CR Doc. 225 at 6, 31-32; CR Doc. 218 at 5; CR Doc. 227 at

12-15]. Furthermore, Petitioner’s contention that counsel was ineffective in

allowing the Court to consider a prior offense that was not committed by

Petitioner is incorrect, as the sentencing transcript shows that counsel


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objected to this prior conviction, and this Court sustained the objection. [CR

Doc. 227 at 55].

      In sum, the Court concludes that, for the reasons stated herein,

Petitioner has simply not shown that his trial counsel rendered deficient

performance.       In any event, even if Petitioner could show deficient

performance, he cannot show prejudice because he does not allege that but

for counsel’s allegedly deficient performance, he would have gone to trial.

Meyer, 506 F.3d at 369. Nor would such a decision have been objectively

reasonable. Petitioner confessed to his conduct and admitted during his

allocution that was guilty of the crimes that the Government could prove.

[See CR Doc. 167 at ¶ 11; Doc. 227 at 69]. Under these circumstances, it

would not have been objectively reasonable for Petitioner to proceed to trial.

Therefore, Petitioner has not shown prejudice. See Fugit, 703 F.3d at 260.

      In his motion to vacate and supporting memorandum, Petitioner

primarily complains about the length of his sentence. To establish prejudice

at sentencing, a petitioner must show that but for his counsel’s deficient

performance, there is a reasonable probability that his sentence would have

been more lenient. See Royal v. Taylor, 188 F.3d 239, 249 (4th Cir. 1999).

Even if Petitioner had alleged that he would have proceeded to trial, he

cannot show that there is a reasonable probability that but for counsel’s


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allegedly deficient performance, he would have received a more lenient

sentence. His assertion that the penalties he received might otherwise have

been different is conclusory, speculative, and insufficient to show prejudice.

This Court heard the arguments regarding the credibility of the drug

quantities admitted by Petitioner’s co-defendants and agreed with the

amounts as set forth in the PSR. Petitioner offers no evidence or argument

to show that there is a reasonable probability that he would have received a

lower sentence if he had proceeded to trial. Rather, given the benefits that

he received by pleading guilty, including the dismissal of the conspiracy

count, the limitation of the drug amounts to those found during the execution

of the search warrant and admitted to by Petitioner or the co-defendants, and

the three-level reduction for acceptance of responsibility, it is reasonably

probable that he would have received a longer sentence had he proceeded

to trial.   Therefore, even if Petitioner had argued that he would have

proceeded to trial, he has not made a showing of prejudice with respect to

his sentence. See Royal, 188 F.3d at 249.

       Finally, Petitioner’s assertion of “cumulative error” is without merit. He

has not shown error by counsel, and claims of ineffective assistance of

counsel are not subject to cumulative error analysis. Fisher v. Angelone,

163 F.3d 835, 852-53 (4th Cir. 1998).


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      In sum, because Petitioner has waived his ineffective assistance

claims arising prior to his knowing and voluntary guilty plea, these claims are

dismissed.   Further, all of Petitioner’s ineffective assistance claims are

denied because he has not shown deficient performance or prejudice.

IV.   CONCLUSION

      For the reasons stated herein, the Court denies and dismisses the

motion to vacate.

      The Court further finds that Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85

(2000)). Petitioner has failed to demonstrate both that this Court’s dispositive

procedural rulings are debatable, and that the Motion to Vacate states a

debatable claim of the denial of a constitutional right. Slack v. McDaniel, 529

U.S. at 484-85. As a result, the Court declines to issue a certificate of

appealability. See Rule 11(a), Rules Governing Section 2255 Proceedings

for the United States District Courts, 28 U.S.C. § 2255.




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                                  ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255 Motion

to Vacate, Set Aside, or Correct Sentence [Doc. 1] is DENIED and

DISMISSED with prejudice.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Proceedings, the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.          Signed: September 23, 2016




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